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                      EXHIBIT B
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coverstory                                                      Case 5:17-cv-05089-TLB Document 45-2       Filed 08/22/17 Page 8 of 10 PageID #: 379


       Inside                                                               What really went on in that house as Josh Duggar molested his victims
                                                                                 — and how his parents, Jim Bob and Michelle, covered it up



                       HOUSE OF HORRORS
    the Duggars’
   TWISTED
                 World             J
                                                                                                                                                                                                                                               osh Duggar was desperate for for-
                                                                                                                                                                                                                                               giveness. Hours after In Touch broke
                                                                                                                                                                                                                                               the news that the 19 Kids and Counting
                                                                                                                                                                                                                                               star had molested five female minors, he
                                                                                                                                                                                                                                    released what he believed to be a heartfelt apology
                                                                                                                                                                                                                                    for his actions. “Twelve years ago, as a young teen-
                                                                                                                                                                                                                                    ager, I acted inexcusably for which I am extremely
                                                                                                                                                                                                                                    sorry and deeply regret,” said the 27-year-old real-
                                                                                                                                                                                                                                    ity star. “I hurt others, including my family and
                                                                                                                                                                                                                                    close friends. I confessed this to my parents who
                                                                                                                                                                                                                                    took several steps to help me address the situation.
                                                                                                                                                                                                                                    We spoke with the authorities where I confessed
                                                                                                                                                                                                                                    my wrongdoing.”
                                                                                                                                                                                                                                       But now, in a bombshell twist, In Touch has
                                                                                                                                                                                                                                    learned that Josh and his parents, Jim Bob,
                                                                                                                                                                                                                                    49, and Michelle, 48, haven’t told the whole
                                                                                                                                                                                                                                    truth and are covering up more details about
                                                                                                                                                                                                                                    what really went on in their house. Joseph
                                                                                                                                                                                                                                    Hutchens, the former state trooper that Jim Bob
                                                                                                                                                                                                                                    brought Josh to speak with a year after learning he

                        Giving in to                                                                                                                                                                                                had inappropriately been touching five female mi-

                          Temptation
                                                                                                                                                                                                                                    nors, tells In Touch that he recalls the events far
                                                                                                                                                                                                                                    differently than what Jim Bob later told police. “He
                                                                                                                                                                                                                                    told me [the molestation] had only happened one
                              In the absence of                                                                                                                                                                                     time,” Hutchens tells In Touch exclusively (see sto-
                              doing good, Josh
                                                                                                                                                                                                                                    ry on p. 32). But the police report — which came




                                                                                                                                                                  CLOCKWISE FROM TOP LEFT: FAMEFLYNET; TLC (2); R/R; SPLASH; R/R;
                               once said, “evil
                                comes in to fill                                                                                                                                                                                    years later after Oprah Winfrey–owned Harpo
                                 the void.” He                                                                                                                                                                                      Studios tipped off local authorities after receiving
                                added that evil                                                                                                                                                                                     an email from someone who alerted them of Josh’s
                               done to children
                                 is “one of its                                                                                                                                                                                     crimes — proves that Jim Bob was told there were
                                worst forms.”                                                                                                                                                                                       multiple incidents right from the first time he was
                                                                                                                                                                                                                                    alerted to Josh’s behavior in 2002.




                                                                                                                                                                  J.S. WEDGEWORTH/NEWSCOM; TLC (2)
                                                                                                                                                                                                                                       What happened inside their home is un-
                                                                                                                                                                                                                                    imaginable. According to the police report, which
                                                                                                                                                                                                                                    was obtained exclusively by In Touch through the
                                                                                                                                                                                                                                    Freedom of Information Act, Josh first began mo-
                                                                                                                                                                                                                                    lesting his victims at night, while they slept inno-
                                                                                                                                                                                                                                    cently in their bedroom. Jim Bob said that in


  It Took                          2002                            JULY 2003                                              DECEMBER                       MAY 2015                                                                                                   MAY 22, 2015
                                                                                                                            2006
 Years for
                                Josh molests                      He completes four                                                                      In Touch breaks                                                                                              TLC yanks show
                                 his victims                    months of “counseling”                                                                       the story                                                                                                from the lineup
                                                                  (reportedly at the                                         After being

the Truth to                                       MARCH
                                                                 Christian Ministry in
                                                                Little Rock, Arkansas)
                                                                                         LATE 2003
                                                                                                                           alerted to the
                                                                                                                            abuse, Oprah
                                                                                                                                             2007                                                                                            MAY 21,
 Come Out
                                                                                         Jim Bob goes to                   Winfrey’s camp
                                                    2003                                  state trooper                   calls the hotline,  Secret                                                                                          2015
                                                   He does it                                Joseph                           and police       trial:                                                                                       Josh and his
                                                     again                                Hutchens, who                      investigate     Josh sues                                                                                      parents issue
30 IN TOUCH JUNE 8 , 20 1 5                                                                does nothing                                        DHS                                                                                           statements
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        JIM BOB’S STORY                                                                                             March 2002, someone whose name is
                                                                                                                    redacted in the police report “came to          “The biggest crime of all
                                                                                                                                                                                                             vestigation was opened by the Spring-
                                                                                                                                                                                                             dale Police Department, which inter-



       SHOT DOWN BY COP
                                                                                                                    him very upset and crying” and said                                                      viewed all the victims, Jim Bob,
                                                                                                                    “that [redacted, Josh] had been sneak-         is the innocent victims                   Michelle (who had been voted Young
                                                                                                                    ing into [the] room at night and had           never had a voice — and                   Mother of the Year in Arkansas in
                                                                                                                    been touching [her] on the breasts and             they still don’t”                     2004) and others. But the case was
                                                                                                             E
                                     Hutchens’                                                    EXCLUSVIIVEW      vaginal area,” states the police report,                                                 dropped because the statute of limita-

                                                                                                  INTER
                                      account                                                                       adding that the young girl told Jim Bob                 —A FAMILY INSIDER                tions had expired. (The email also stat-
                                   conflicts with                                                                   that this had occurred four to five                                                      ed Jim Bob had gotten into trouble for
                                    Jim Bob’s.                                                                      times. Jim Bob did not go to the police      with a family friend who remodels           lying to his church about this matter.)
                                                                                                                    and there is no indication on the police     homes (see police report, p. 35).           The case was then referred to the Fami-
                                                                                                                    report that he took any action.                 Josh’s aggression raged on. Also         lies in Need of Services. Closed-door
                                                                                                                       Four months later, it happened            around this time, another victim had        proceedings against the Duggars were
                                                                                                                    again — out in the open. In July 2002,       been standing in the laundry room           held by the Arkansas Department of
                                                                                                                    Jim Bob was told again that Josh had         when Josh suddenly “put his hand un-        Human Services. Unhappy with the
                                                                                                                    committed another act of sexual fon-         der [her] dress,” states the report.        outcome — which was never disclosed
                                                                                                                    dling. The assault, states the police re-    “That was showing a pattern of in-          because records are sealed — in 2007,
                                                                                                                    port, involved Josh fondling the vic-        creasing aggression,” says Dr. Paula        Josh then sued that department and a
                                                                                                                    tim’s breasts as she slept on the family’s   Bruce, a clinical psychologist who spe-     trial was held on Aug. 6. The Duggars
                                                                                                                    couch. Jim Bob still did not go to the       cializes in sexual abuse and has not        refuse to comment on whether the fam-
                                                                                                                    police but later claimed he disciplined      treated the Duggars. “So it’s very hard     ily was subsequently monitored or if the
                                                                                                                    Josh after this. Soon after that, Josh’s     to imagine a situation where you have       victims were ever counseled by a li-
                                                                                                                    behavior became more aggressive. In          someone who has multiple victims            censed professional. They are still cov-
                                                                                                                    March 2003, one of the girls was sitting     with increasing aggression over time        ering up what happened in those cases.
                                                                           Hutchens, who at the time wor
                                                                                                          ked       on Josh’s lap as he read her a book when     that he just goes away, reads the Bible        Josh seemed to be off the hook.
                                                                            for Troop L, didn’t know what
                                                                                                           to       Josh began touching her “breasts and         and is no longer sexually compulsive        According to Ohio-based criminal de-
                                                                            expect when Jim Bob called him
When In Touch obtained the 2006 police                                        about “a matter” involving his        vaginal areas.” (In Touch believes that      the way he clearly was.” Adds the in-       fense attorney Carmen V. Roberto,
report revealing the disturbing details of                                                  eldest son, Josh.       one of Josh’s victims was no more than       sider: “It was literally a house of hor-    who doesn’t represent any of the par-
Josh’s crimes against five female minors,                                                                           5 years old when touched.) Jim Bob           rors. On TV they try to make their fam-     ties in the case, if authorities had been
the bombshell report clearly stated                                                                                 later told police that he sent Josh away     ily seem perfect, but behind closed         alerted when Jim Bob first brought
that the then-14-year-old inappropriately                                                                           for four months until July 2003 for          doors, it’s absolutely insane.”             Josh to speak with trooper Hutchens in
touched his victims multiple times during                                                                           “counseling,” reportedly at Christian           But the truth couldn’t stay hidden       2003, Josh could have faced serious
2002 and 2003. But former state trooper                                                                             Ministry in Little Rock, Arkansas. But       forever. In 2006, after Harpo received      punishment. “It’s possible he would
Joseph Hutchens says that’s not what Jim                                                                            Michelle told police Josh did not see a      the shocking email regarding Josh’s         have been labeled a sexual offender if
Bob told him in 2003 when he brought                                                                                certified counselor and instead was          dark past and alerted authorities, an in-   convicted and could have been sent to a
Josh to the Arkansas State Police station.
In an interview held at the Arkansas
Department of Corrections’ Wrightsville
Hawkins Unit, Hutchens — who was twice convicted
on child pornography charges and is currently
                                                       pastor had already been involved” and that Josh                Experts: Josh Still Won’t Face What He Did
                                                       was going to get counseling. Based on Jim Bob and                                                                         Josh Duggar’s official statement gained him some
serving a 56-year sentence — opened up about what      Josh’s account, Hutchens made the decision not to                                                                         supporters, but LA-based psychologist Julie Armstrong
he was told. The interview was conducted and           report the case to the Child Abuse Hotline, as the law                                                                    tells In Touch the apology is grossly insufficient and
recorded by a representative from a local law firm     requires. “I thought what I did was right — obviously                                                                     misguided. “It is extremely self-centered and narcissistic,”




                                                                                                                                                                                                                                                         COVER CREDITS: CLOCKWISE FROM MAIN: GETTY; FAMEFLYNET; RAMEY; LANDOV
for In Touch. Hutchens was unaware that he was         it wasn’t,” confesses Hutchens. “The young girl                                                                           she says, noting that by classifying his conduct as a
speaking to In Touch and was promised nothing in                                                                                                                                 religious failure rather than pathological behavior, Josh
                                                       should have been my first priority. I feel terrible.                                                                      fails to truly take responsibility for what his victims
return for his cooperation. He was told only that he   I have lost lots of sleep over this. I am a Christian                                                                     experienced. “He talks about it as if it’s a simple mistake.
was being questioned as part of an investigation.      myself and I worry that if something else had                                                                             But he was intentionally victimizing others.” The state-
   Jim Bob and Josh were accompanied by two            happened I would have been responsible for it in my                                                                       ment from Josh’s wife, Anna, 26, was similarly disen-
unidentified individuals when they met with Hutch-     opinion by not reporting it. I did what I did and there                                                                   gaged. “It’s sterile,” says Dr. Armstrong. “Like Josh’s, it’s
ens. “[When they arrived,] Jim Bob explained to me     was no personal gain involved.” Hutchens said in                                                                          a blanket statement designed to shut down the media.”
that Josh inappropriately touched [a victim] while     the interview that he knows “my reputation is shot”                                                                       Dr. Paula Bruce, a Beverly Hills clinical psychologist, says
                                                                                                                                                                                 Josh’s statement shows “a complete failure to understand
she was asleep,” recalls Hutchens, who believes Jim    but “the way I understood it, it was just a one-time                                                                      that that sexual behavior was abuse and that he was a
Bob reached out to him because they had a working      incident,” so he gave Josh a stern warning about




                                                                                                                                                                                                                                                         FROM LEFT: R/R (2); GETTY; R/R
                                                                                                                                                                                 sexual predator. It’s classic. It’s got dominance and
relationship at the time. “Jim Bob sat down and Josh   what could happen to him. Given the chance to go                                                                          exploitation.” The doctor also says Anna’s supportive
was crying. He said he touched [a victim] through      back, the disgraced trooper says he would have                                                                            statement is troubling. “There is no awareness about this
her clothing and he said it only happened one time.    “immediately” called the child abuse hotline. If his                                                                      being a psychological problem,” she says. “It is framed
[They said] the girl was asleep and didn’t know        recollection is accurate, Jim Bob could be on the                                                                         from her perspective as a religious failing, that he humbled
                                                                                                                                                                                 himself before God and it’s all done. She frames it as a
anything had happened. They also told me that the      hook for criminal charges of child endangerment.                                                                          teenage mistake like stealing your neighbor’s bike.” Josh
                                                                                                                                                                                 and Anna have three children, Mackynzie, 5, Michael, 3,
                                                                                                                                                                                 and Marcus, 2, and Anna is pregnant and expecting a girl.
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coverstory
                                                                                                                                                                         Got Stretch Marks?
                                                                         Case 5:17-cv-05089-TLB Document 45-2     Filed 08/22/17 Page 10 of 10 PageID #: 381



                                                                     THE BOMBSHELL POLICE REPORT
detention facility,” says Roberto. “The fact there
were multiple victims is an indication his prob-
lem is serious (psychologically speaking) based
                                                                                                                                                                                         We can help.
                                                              XCLUSIVE
on what I have seen in reports concerning my
clients, and for therapy to work it would need
to be intense, probably inpatient, and for a long
                                                          E
period of time. The court also would have most
likely removed him from the home while the
case was pending, so he would likely have been
held in a juvenile facility.”



 “I can imagine the shock many of you
    are going through … I remember                                                                           LL
      feeling that same shock”                                                        CHILD ABUSE HOTLINE CA
                —JOSH’S WIFE, ANNA


   But Jim Bob may have to pay for a dire
mistake. If Hutchens’ recollection is correct
that Jim Bob told him there was only one inci-
dent when he knew there were many more, “his
actions could be perceived as Child Endanger-
ing, one count for each child,” warns Roberto.
“The original actions of not making reports are
crimes by anyone involved and those parties
could possibly still be charged.” In addition, Josh
could face multiple lawsuits, adds Roberto. “The
victims or their parents could have sued him in
civil court and may yet be able to.”
   While Jim Bob and Michelle are still not
telling the whole story about Josh’s crimes                                                                                                                              Apothederm               R




and what really happened, the five victims                                                                                                                               Stretch Mark Cream
were left to suffer alone without getting any                                                                              MICHELLE CONTRADICTS JIM                      with SmartPeptides       Biotechnology
                                                                                            THE EMAIL TO OPRAH
                                                                                                                                                                                              R


professional treatment for an extended pe-
riod of time. (The family says they did get treat-                                                                          BOB IN POLICE INTERVIEW                       Helps reduce the appearance of red
ment but doesn’t specify where or for how long.)
“Josh was a sexual predator,” says Dr. Bruce.
                                                                      BO B’S 20 06 P O LI CE INTERVIEW                                                                    & silver stretch marks
“Each and every one of the girls [he molested]
needs to be in therapy.” If not, it could lead to larg-
                                                                  JIM                                                                                                     Helps improve skin texture

er problems later in life, like borderline personal-                                                                                                                      Non-greasy and fast absorbing
ity disorder, depression, anxiety, body shame and                                                                                                                         See results in as little as 2 weeks*
                                                                                                                                                   FIRST
                                                                                                                        JIM BOB TALKS ABOUPTOHLIISCE
even hypersexuality. “They need to have their
owns space away from the family to talk about
                                                                                                                                                                             Say goodbye to
their experience,” she adds. “This was not some
teenager mistake; these girls were victims] of                                                                               CONTACT WITH
sexual predatory behavior. The whole family                                                                                                                                  stretch marks.
didn’t and don’t recognize the significant psycho-
logical damage done to victims of sexual abuse.”
   The truth will haunt them forever. “The                                                                                                                               Save $10 with code SWIM10
Duggar home has never been the perfect Chris-                                                                                                                            Offer valid until 7/31/15
tian household that fans have come to know
over years,” says the family insider. “Behind                                                                                                                            www.apothederm.com
those doors, the walls are filled with secrets




                                                                                                                                                               R/R (8)
                                                                                                                                                                         Order online or call Customer Service
and tears.” ◼
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                                                                                                                                                                                                      * Data on file
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